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November 10, 2023

BY ECF

Hon. Valerie E. Caproni
United States District Court for the Southern District of New York
40 Foley Square, Room 443
New York, New York 10007
                   Nike, Inc. v. StockX LLC, No. 22 CV 983 (VC) (SN)

Dear Judge Caproni:

        Pursuant to the Court’s November 3, 2023 Order (ECF No. 213), Defendant StockX
LLC (“StockX”) respectfully requests to seal limited portions of the Parties’ oppositions to
the motions to preclude expert testimony filed on October 13, 2023 (the “Daubert
Oppositions”; ECF Nos. 209-211, 214) that include StockX’s non-public financial data and
additional competitively sensitive information such as data on StockX’s highly confidential
authentication process, StockX’s internal communications regarding product design, and
data on StockX’s customers. StockX’s proposed redactions are consistent with StockX’s
prior motion to seal portions of the Parties’ motions to preclude expert testimony (ECF No.
205), and Nike does not oppose StockX’s requests. Specifically, StockX seeks:

              To seal entirely three non-public internal StockX documents containing
               proprietary and confidential StockX information (Ford Declaration Exhibits
               C and K (ECF Nos. 210-3 and 210-11) and Duvdevani Exhibit 12 (ECF No.
               214-12)), and

              To apply narrowly-tailored redactions to portions of the Parties’ Daubert
               Oppositions, including StockX’s opposition brief (ECF No. 209); Nike’s
               opposition brief (ECF No. 211); and Duvdevani Exhibits 1, 2, and 7 (ECF
               Nos. 214-1, 214-2, and 214-7).

StockX is filing under seal concurrently with this letter motion a copy of its opposition brief
with highlighting showing both parties’ proposed redactions. (StockX is not re-filing the
Ford Declaration, as no party is proposing redactions to any portion of that Declaration or its
exhibits, though both Nike and StockX are seeking to fully seal certain exhibits that are
identified herein by the ECF number of the original filing.) See also Appendix A
(identifying the portions of the Parties’ opposition filings that StockX is seeking to seal in
their entirety and to narrowly redact).

        Although there is a presumption of public access to judicial documents, Brown v.
Maxwell, 929 F.3d 41, 49 (2d Cir. 2019), courts must “balance competing considerations
against” that presumption, Lugosch v. Pyramid Co. of Onondaga, 435 F.3d 110, 120 (2d Cir.
2006) (citation omitted). For filings submitted in connection with non-dispositive motions
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such as the parties’ Daubert briefs, the presumption of public access is “generally somewhat
lower than the presumption applied to material introduced at trial, or in connection with
dispositive motions such as motions for dismissal or summary judgment.” Brown, 929 F.3d
at 50. The protection of a party’s confidential or competitively sensitive business
information may outweigh the presumption of public access. See, e.g., Mahood v. Noom,
2021 WL 214299, at *2 (S.D.N.Y. Jan. 20, 2021) (approving redaction of “confidential,
competitively-sensitive” usage and revenue data and collecting cases); see also United
States v. Amodeo, 71 F.3d 1044, 1051 (2d Cir. 1995) (explaining that these interests
establish a “venerable common law exception to the presumption of access”).

     I.    StockX’s Proposed Redactions to the Daubert Motions

           A.     Certain Nonpublic StockX Financial Data

        StockX seeks to redact limited portions of the Nike’s memorandum of law (ECF No.
211) and Duvdevani Declaration Exhibit 2 (ECF Nos. 214-2), which contain highly-
confidential financial information from StockX’s non-public audited financial statements,
including StockX’s confidential profit and loss statements. StockX’s proposed redactions
are limited to specific financial data reflecting its profits, revenues, and expenses. The
requested redactions in this category should be granted for two reasons.

        First, as a private company, StockX’s financial statements have not previously been
publicly released. Courts have held that the sensitivity of such data can outweigh any
presumption of public access. See Mahood, 2021 WL 214299, at *2 (granting motion to
seal a private company’s revenue and financial information); Syntel Sterling Best Shores
Mauritius Ltd. v. TriZetto Grp., 2021 WL 1541385, at *3 (S.D.N.Y. Apr. 20, 2021)
(granting motion to redact “confidential … accounting and financial information”); Valassis
Commc’ns, Inc. v. News Corp., 2020 WL 2190708, at *3-4 (S.D.N.Y. May 5, 2020)
(permitting redaction of “financial metrics (such as pricing, costs, revenue, and profits)” and
“business information of its active business units, such as … financial metrics”).

        Second, public disclosure of this information would be highly detrimental because it
would reveal detailed information about StockX’s financial condition, long-term business
plans, and revenue streams. Courts routinely grant requests to seal such sensitive financial
data. See Standard Inv. Chartered, Inc. v. Fin. Indus. Reg. Auth., 347 F. App’x 615, 617 (2d
Cir. 2009) (finding that presumption of public access was overcome when disclosure would
subject a party to financial harm and cause significant competitive disadvantage);
Kewazinga Corp. v. Microsoft Corp., 2021 WL 1222122, at *6 (S.D.N.Y. Mar. 31, 2021)
(permitting redactions of “details of Microsoft’s sources of revenue and the amounts of its
revenue and sales” and “specific revenue amounts from certain offerings”).

        StockX’s limited redactions leave the substance of the expert reports and testimony
undisturbed, while protecting only a narrow subset of information that would be detrimental
for StockX’s business and partnerships if made publicly available. Courts regularly approve
such narrowly-tailored redactions of such highly confidential financial information,
particularly with respect to private companies. See, e.g., Louis Vuitton Malletier S.A. v.
Sunny Merch. Corp., 97 F. Supp. 3d 485, 511 (S.D.N.Y. 2015) (granting motion to redact
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“specific business information and strategies,” which, if revealed, would “provide valuable
insights into a company’s current business practices that a competitor would seek to
exploit”); Playtex Prods., LLC v. Munchkin, Inc., 2016 WL 1276450, at *11 (S.D.N.Y. Mar.
29, 2016) (granting request to seal documents concerning sales and revenue because
“Plaintiffs would be competitively harmed if they were revealed”).

          B.      Certain Nonpublic Competitively Sensitive Information about
                  StockX’s Business Plans & Commercial Interests

        StockX also seeks to seal information concerning its confidential business
relationships and commercial strategies, including witness testimony on StockX’s highly
confidential and proprietary authentication process; internal communications and
presentations regarding StockX’s product design; and a board presentation on StockX’s
business growth strategy. To protect this information, StockX seeks to seal three exhibits in
their entirety – Duvdevani Declaration Exhibit 12 (ECF No. 214-12) and Ford Declaration
Exhibits C and K (ECF Nos. 210-3 and 210-11) – and to redact portions of the StockX’s
memorandum of law (ECF No. 209) and Duvdevani Declaration Exhibits 1, 2, and 7 (ECF
Nos. 214-1, 214-2, and 214-7).

         StockX requests to seal its highly confidential and commercially sensitive business
plans, authentication processes, product development materials, and customer data. StockX
has proposed redactions judiciously and only to StockX’s most highly confidential,
commercially sensitive information. Public disclosure of this information would put StockX
at a distinct competitive disadvantage. For example, disclosure of StockX’s discussions and
presentations on business strategy would reveal StockX’s avenues for growth and allow
competing marketplaces to unfairly leverage that information to undermine StockX’s
initiatives. Amodeo, 71 F.3d at 1051 (“Commercial competitors seeking an advantage over
rivals need not be indulged in the name of monitoring the courts . . . .”). In addition, non-
public data on StockX’s authentication process and sensitive discussions regarding the
development of the Vault NFT program are comprised of “highly proprietary material
concerning [StockX’s] . . . product development,” see GoSMiLE, Inc. v. Levine, 769
F.Supp.2d 630, 650 (S.D.N.Y. 2011) (granting motion to seal materials concerning product
development), and could “give [] competitors valuable insight into [StockX’s] business
practices,” see PharmacyChecker.com LLC, No. 19 CV 07577, 2022 WL 4956050, at *2
(S.D.N.Y. Aug. 26, 2022) (granting motion to seal documents that would reveal “current
business practices”).

        StockX has not proposed redactions to internal documents containing information
that has since become public; for example, StockX does not request to seal internal
communications pertaining to StockX’s Vault NFT program that were ultimately publicly
disclosed.

        The three documents that StockX seeks to seal in full – Duvdevani Declaration
Exhibit 12 and Ford Declaration Exhibits C and K – are internal and non-public StockX
documents: (1) a highly confidential presentation on StockX’s NFT product development;
(2) an internal StockX user segmentation study used to “establish[] a benchmark for StockX
in the United States relative to its core competitors” in the marketplace; and (3) an internal
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board presentation containing non-public financial data and projections, as well as
competitively sensitive growth strategy. See ECF Nos. 214-12, 210-11, and 210-3;
PharmacyChecker.com, 2022 WL 4956050, at *2 (“[C]ourts have consistently found that
confidential commercial information of a business – including confidential research, internal
business documents and information about a business’s operations are the proper subject of
sealing.”).

        Courts in this district routinely determine that the disclosure of a party’s confidential
or competitively sensitive business information is not required and the interest in
maintaining confidentiality over such information outweighs any presumption of public
access. See Louis Vuitton Malletier, 97 F. Supp. 3d at 511; Playtex Prods., 2016 WL
1276450, at *11. Here, StockX’s interest in protecting this limited amount of competitively
sensitive business information outweighs the presumption of public access and sealing is
appropriate under these circumstances, and StockX accordingly requests that the Court
approve its proposed redactions.

Respectfully submitted,

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Attorneys for Defendant StockX LLC


cc       All counsel of record (via ECF)
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                                      Appendix A

           Proposed Confidential Treatment of the Parties’ Opposition Filings




  Document       Filing Name                               Proposed Confidential
  ECF No.                                                  Treatment


  209            StockX’s Memorandum of Law in             Proposed Redactions
                 Opposition to Nike’s Motion to Exclude
                 the Expert Testimony of Sarah Butler,
                 Robert Vigil, and DeJongh Wells


  210            Declaration of Christopher S. Ford        None


  210-1          Ford Declaration Exhibit A: Butler        None
                 Deposition Transcript Excerpts


  210-2          Ford Declaration Exhibit B: Butler        None
                 Declaration


  210-3          Ford Declaration Exhibit C: STX0090109    Seal in Full


  210-4          Ford Declaration Exhibit D: Wells         None
                 Deposition Transcript Excerpts


  210-5          Ford Declaration Exhibit E:               None
                 NIKE0036670


  210-6          Ford Declaration Exhibit F: Sneakerhead   None
                 Survey Article


  210-7          Ford Declaration Exhibit G: New York      None
                 Times Article


  210-8          Ford Declaration Exhibit H: Forbes Article None
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  Document       Filing Name                                  Proposed Confidential
  ECF No.                                                     Treatment


  210-9          Ford Declaration Exhibit I: Nike v. By KIY   None
                 Complaint


  210-10         Ford Declaration Exhibit J: Nike v. Ho       None
                 Complaint


  210-11         Ford Declaration Exhibit K: STX0021868       Seal in Full


  211            Nike’s Memorandum of Law in                  Proposed Redactions
                 Opposition to StockX’s Motion to
                 Preclude the Testimony of John Hansen,
                 Jeffery Stec, Kari Kammel, Steven
                 McNew, and Itamar Simonson


  214            Declaration of Tamar Y. Duvdevani            None


  214-1          Duvdevani Declaration Exhibit 1: Hansen      Proposed Redactions
                 Deposition Transcript Excerpts


  214-2          Duvdevani Declaration Exhibit 2: Hansen      Proposed Redactions
                 Rebuttal Report


  214-3          Duvdevani Declaration Exhibit 3: Kammel None
                 Deposition Transcript Excerpts


  214-4          Duvdevani Declaration Exhibit 4:             None
                 LaMagna Deposition Transcript Excerpts


  214-5          Duvdevani Declaration Exhibit 5: McNew       None
                 Deposition Transcript Excerpts


  214-6          Duvdevani Declaration Exhibit 6:             None
                 Kominers Report
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  Document       Filing Name                               Proposed Confidential
  ECF No.                                                  Treatment


  214-7          Duvdevani Declaration Exhibit 7:          Proposed Redactions
                 Kominers Rebuttal Report


  214-8          Duvdevani Declaration Exhibit 8: Klein    None
                 Deposition Transcript Excerpts


  214-9          Duvdevani Declaration Exhibit 9: Klein    None
                 Rebuttal Report


  214-10         Duvdevani Declaration Exhibit 10:         None
                 Simonson Deposition Transcript Excerpts


  214-11         Duvdevani Declaration Exhibit 11: Neal    None
                 Deposition Transcript Excerpts


  214-12         Duvdevani Declaration Exhibit 12:         Seal in Full
                 STX0018415-18451
